        Case 2:24-cv-06548-PD        Document 3      Filed 12/10/24     Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                              :
In re VISUAL SEMICONDUCTOR,                   :
INC., et al.,                                 :
                 Petitioner,                  :
                                              :
                                              :          Civ. No. 24-6548
                                              :


                                        ORDER

       AND NOW, this 10th day of December, 2024, upon consideration of Petitioners’

Emergency Joint Petition (Doc. No. 1), it is hereby ORDERED that all interested Parties SHALL

RESPOND to Petitioner’s filing no later than December 11, 2024 at 12 p.m. Petitioners SHALL

IMMEDIATELY serve all interested Parties with a copy of this Order.



                                                         AND IT IS SO ORDERED.


                                                         /s/ Paul S. Diamond
                                                         Paul S. Diamond, J.
